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JS 44 (Rev.   /1 )                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Anil Suradkar, and                                                                             Pride Hospitality LLC, d/b/a Hotel 95/Airport Plaza, and
         Suresh Tyagi,                                                                                  Jai Patel,

   (b) County of Residence of First Listed Plaintiff              Queens                                 County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
      Abdul Hassan Law Group, PLLC - 215-28 Hillside Avenue, Queens
Village, NY 11427. Tel: 718-740-1000, Fax - 718-740-2000


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                             and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF            DEF                                           PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State           1                  1   Incorporated or Principal Place          4      4
                                                                                                                                                         of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State                2          2   Incorporated and Principal Place        5       5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                Citizen or Subject of a                 3          3   Foreign Nation                          6       6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure                 422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                     365 Personal Injury -            of Property 21 USC 881               423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                    28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                   367 Health Care/                                                                                        400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                 Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                         Personal Injury                                                   820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’               Product Liability                                                 830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                   368 Asbestos Personal                                                 840 Trademark                     460 Deportation
      Student Loans                  340 Marine                           Injury Product                                                                                      470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                   Liability                         LABOR                           SOCIAL SECURITY                       Corrupt Organizations
  153 Recovery of Overpayment             Liability                  PERSONAL PROPERTY             710 Fair Labor Standards                 861 HIA (1395ff)                  480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle                370 Other Fraud                   Act                                 862 Black Lung (923)              490 Cable/Sat TV
  160 Stockholders’ Suits            355 Motor Vehicle                371 Truth in Lending         720 Labor/Management                     863 DIWC/DIWW (405(g))            850 Securities/Commodities/
  190 Other Contract                     Product Liability            380 Other Personal                Relations                           864 SSID Title XVI                    Exchange
  195 Contract Product Liability     360 Other Personal                   Property Damage          740 Railway Labor Act                    865 RSI (405(g))                  890 Other Statutory Actions
  196 Franchise                          Injury                       385 Property Damage          751 Family and Medical                                                     891 Agricultural Acts
                                     362 Personal Injury -                Product Liability             Leave Act                                                             893 Environmental Matters
                                         Medical Malpractice                                       790 Other Labor Litigation                                                 895 Freedom of Information
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             791 Employee Retirement                  FEDERAL TAX SUITS                     Act
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                    Income Security Act                  870 Taxes (U.S. Plaintiff         896 Arbitration
  220 Foreclosure                    441 Voting                      463 Alien Detainee                                                          or Defendant)                899 Administrative Procedure
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                                  871 IRS—Third Party                   Act/Review or Appeal of
  240 Torts to Land                  443 Housing/                        Sentence                                                               26 USC 7609                       Agency Decision
  245 Tort Product Liability             Accommodations              530 General                                                                                              950 Constitutionality of
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                                                                State Statutes
                                         Employment                  Other:                        462 Naturalization Application
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                         Other                       550 Civil Rights                  Actions
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3      Remanded from              4 Reinstated or             5 Transferred from              6 Multidistrict
    Proceeding              State Court                            Appellate Court              Reopened                    Another District                Litigation
                                                                                                                            (specify)
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       29 USC 216 - FLSA
VI. CAUSE OF ACTION Brief description of cause:
                                        unpaid overtime wages
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                        CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                    DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
05/08/2020
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                               MAG. JUDGE
                                CERTIFICATION
                 Case 1:20-cv-02106-CLP       OF 1-2
                                        Document ARBITRATION     ELIGIBILITY
                                                     Filed 05/08/20 Page 2 of 2 PageID #: 13
Local Arbitration Rule 83. provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.



I, __________________________________________,
    Abdul Hassan                                    counsel for____________________________,
                                                                     Plaintiff               do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                  DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

                                                                       none



                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

                                                           NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes              No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes               No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?               Yes               No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                         BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                                             Yes                                                           No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes        (If yes, please explain                           No




            I certify the accuracy of all information provided above.

            Signature: ____________________________________________________
